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IN THE UNITED STATES DISTRICT COURT gs Mey, “o
FOR THE DISTRICT OF PUERTO RICO .

In Re: SEALED

MOTION TO SEAL

TO THE HONORABLE COURT:

COMES NOW the United States of America, by and through the undersigned attorneys,

and very respectfully states and prays as follows:

1. That attached to this motion is a sealed envelope containing a pleading.

2. That after due consideration by this Honorable Court, the United States of America
respectfully requests that the pleading be kept under seal until further order of this Court.

WHEREFORE, the United States respectfully requests from the Court to grant its request.

RESPECTFULLY SUBMITTED.
In San Juan, Puerto Rico, this 23 _" day of November, 2018.

ROSA EMILIA RODRIGUEZ-VELEZ
United States Attorney

ae

Timothy R. Henwoo

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